       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                              MELANIE EAM,
                                Appellant,

                                    v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-0767

                           [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Fifteenth Judicial Circuit, Palm Beach County; Jeffrey Dana Gillen,
Judge; L.T. Case No. 502016CF011454A.

   Melanie Eam, Ocala, pro se.

   No appearance required for appellee.

PER CURIAM.

   Affirmed.

LEVINE, FORST and KUNTZ, JJ., concur.

                          *          *          *

    Not final until disposition of timely filed motion for rehearing.
